                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


                                                   )
LYNN HARTER                                        )
                                                   )
                                                   )
v.                                                 )      NO. 3:10-0968
                                                   )      JUDGE SHARP
                                                   )
BEACH OIL COMPANY, INC.,                            )
                                                   )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 9/29/2015.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Elaine J. Hawkins, Deputy Clerk




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